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 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6                                  AT SEATTLE

 7
      L.B. and M.B., individually and on
      behalf of their minor child A.B.; C.M.
 8
      and A.H., individually and on behalf of
      their minor child J.M.; and on behalf of
 9
      others similarly situated,
                                                       C23-0953 TSZ
10                          Plaintiffs,
                                                       MINUTE ORDER
11        v.
12    PREMERA BLUE CROSS,
13                          Defendant.

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        The following Minute Order is made by direction of the Court, the Honorable
15 Thomas S. Zilly, United States District Judge:
          (1)    The Court has reviewed the parties’ proposed stipulated judgment, docket
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   no. 174, but DEFERS entering it pending briefing on the effect, if any, of the United
   States Supreme Court’s decision in Skrmetti v. United States, No. 23-477, a copy of
17
   which is attached to defendant’s notice of supplemental authority, docket no. 175.
18                 (a)    On or before July 7, 2025, defendant Premera Blue Cross shall file a
           brief, not to exceed eight (8) pages in length, articulating why Skrmetti would
19         affect, in any way, the Court’s rulings in this matter, particularly in light of the
           basis for the Court’s denial of defendant’s earlier, related request for a stay. See
20         Order at 19 n.8 (docket no. 169).
21                (b)     Plaintiffs’ response, which likewise shall not exceed eight (8) pages
           in length, is due on July 24, 2025.
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 1               (c)    No reply shall be submitted unless requested by the Court.

 2                (d)     The parties’ proposed stipulated judgment, docket no. 174, is
          NOTED for July 24, 2025. If the Court concludes that Skrmetti does not alter the
 3        result in this case, the Court will enter judgment in a form similar to the parties’
          proposal without advance notice to the parties.
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        (2)  The trial date of September 15, 2025, and all related dates and deadlines are
 5 STRICKEN.
          (3)    The Clerk is directed to send a copy of this Minute Order to all counsel of
 6 record.

 7        Dated this 20th day of June, 2025.

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                                                    Ravi Subramanian
 9                                                  Clerk

10                                                  s/Laurie Cuaresma
                                                    Deputy Clerk
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     MINUTE ORDER - 2
